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SO ORDERED at Bridgeport, Connecticut this 30th day of April, 2020.

/s/ Kari A. Dooley
United States District Judge
